               Case 2:21-cv-01351-MJP Document 43 Filed 10/20/21 Page 1 of 3




 1                                                                   District Judge Marsha J. Pechman
 2
 3
 4
 5
 6
 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9
10    ATREYI CHAKRABARTI, et. al.                         No. C21-01351 MJP

11                         Plaintiffs,                    STIPULATED MOTION TO
                                                          DISMISS AND ORDER
12                   v.
                                                          Noted for Consideration:
13
      UNITED STATES CITIZENSHIP AND                       October 12, 2021
14    IMMIGRATION SERVICES, et al.,

15                           Defendants.
16
17          Plaintiffs brought this litigation pursuant to the Mandamus Act seeking, inter alia, to

18   compel the U.S. Citizenship and Immigration Services (“USCIS”) to adjudicate Plaintiffs’ I-485

19   application. Dkt. No. 2. On October 4, 2021, Plaintiff Arun Kumar Madhava Rao’s claims were

20   severed from the other named plaintiffs in Chakrabarti v. USCIS, 8:21-cv-1945 (D. Md.), and

21   transferred to this Court. Dkt. No. 38. Prior to transfer, USCIS approved Plaintiff Rao’s I-485
     application and issued the lawful permanent resident card. Accordingly, the above-captioned
22
     action having been resolved, the parties, through their undersigned counsel and respective
23
     attorneys of record, now hereby stipulate to the dismissal without prejudice, with each party to
24
     bear their own fees or costs.
25
     //
26
     //
27

     STIPULATED MOTION TO DISMISS               -1                       UNITED STATES ATTORNEY
     (21-cv-01351 MJP)                                                   700 STEWART STREET, SUITE 5220
                                                                          SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
              Case 2:21-cv-01351-MJP Document 43 Filed 10/20/21 Page 2 of 3




     Dated: October 12, 2021                   Respectfully submitted,
 1
 2                                             NICHOLAS W. BROWN
                                               United States Attorney
 3
                                                s/Michelle R. Lambert
 4                                             MICHELLE R. LAMBERT, NYS #4666657
                                               Assistant United States Attorney
 5                                             United States Attorney’s Office
 6                                             1201 Pacific Avenue, Suite 700
                                               Tacoma, Washington 98402
 7                                             Phone: 206-428-3824
                                               Email: michelle.lambert@usdoj.gov
 8                                             Attorneys for Defendants
 9
                                               s/Charles H. Kuck
10                                             CHARLES H. KUCK, GA BAR # 429940
                                               Kuck Baxter Immigration, LLC
11                                             365 Northridge Rd. Suite 300
                                               Atlanta, GA 30350
12                                             Phone: (404)816-8611
                                               Email: ckuck@immigration.net
13
                                               Attorneys for Plaintiff
14                                             *PHV Pending

15
16
17
18
19
20
21
22
23
24
25
26
27

     STIPULATED MOTION TO DISMISS      -2                    UNITED STATES ATTORNEY
     (21-cv-01351 MJP)                                       700 STEWART STREET, SUITE 5220
                                                              SEATTLE, WASHINGTON 98101
                                                                     (206) 553-7970
             Case 2:21-cv-01351-MJP Document 43 Filed 10/20/21 Page 3 of 3




                                             ORDER
 1
           It is so ORDERED. The case is dismissed without prejudice.
 2
 3         DATED this 20th day of October, 2021.
 4
 5                                                   A
                                                     Marsha J. Pechman
 6                                                   United States Senior District Judge
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

     STIPULATED MOTION TO DISMISS           -3                     UNITED STATES ATTORNEY
     (21-cv-01351 MJP)                                             700 STEWART STREET, SUITE 5220
                                                                    SEATTLE, WASHINGTON 98101
                                                                           (206) 553-7970
